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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK



    NORTH AMERICAN SOCCER LEAGUE, LLC,

                                 Plaintiff,                         Civil Action No. 1: 17-cv-05495-HG

                               V.
                                                                                ORDER
   UNITED STATES SOCCER FEDERATION, INC., and
   MAJOR LEAGUE SOCCER, L.L.C.,

                                 Defendants.



 HECTOR GONZALEZ, United States District Judge:

        ORDERED that the below listed (1) attorneys for U.S. Soccer, (2) paralegals at Latham

 & Watkins LLP, (3) U.S. Soccer in-house counsel and client representatives, and (4) ti·ial

 suppo1t personnel for U.S. Soccer are authorized to bring cellular phones, laptop

 computers, iPads, wireless earbuds, smait watches, power adapters and cords, backup drives,

 HDMI cords, power sti·ips, extension cords, portable monitors, remotes, and computer mouses

 into the Eastern Dish'ict of New York Comthouse for the ti·ial of North American Soccer

 League, LLC v. United States Soccer Federation, Inc., & Major League Soccer, L.L.C., which

 is scheduled to commence on Janua1y 13, 2025, and for preh'ial setup.



 Attorneys for U.S. Soccer - Latham & Watkins LLP

 Lawrence E. Butennan
 Christopher S. Yates
 Anna M. Rathbun
 Aai·on T. Chiu
 Joseph Axeh-ad
 David L. Johnson
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 Hanna Nunez Tse
 Alexander Siemers
 Emily Viola

 Paralegals for U.S. Soccer - Latham & Watkins LLP

 Michelle Jeffers
 Stefanie Johnson
 Michaela Shinn

 U.S. Soccer Attorneys/Representatives

 Carlos Kuri
 Greg Fike
 Elizabeth Peny (Yandell)

 Trial Suppo1i Personnel for U.S. Soccer

 Scott Johnson
 Aldo Camacho
 Geneva Dixon


 SO ORDERED.


 Dated: Brooklyn, New York
            Januaiy 3 , 2025

                                                            Isl Hector Gonzalez
                                                             Hector Gonzalez
                                                        United States District Judge




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